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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

IN RE ZOHAR III, Corp., et al.,              )   Chapter 11
                                             )   Case No. 18-10512 (KBO)
                     Debtors.                )   (Jointly Administered)

LYNN TILTON, et al.,                         )
                                             )
                     Appellants,             )
                                             )
       v.                                    )   C.A. No. 19-1874 (MN)
                                             )
ZOHAR III, CORP., et al.,                    )
                                             )
                     Appellees.              )

                                         ORDER

             At Wilmington this 13th day of July 2020:

             For the reasons set forth in the Memorandum Opinion issued on this date, IT IS

HEREBY ORDERED that:

      1.     The Bankruptcy Court’s Order, dated September 27, 2019 (B.D.I. 974) is

AFFIRMED.

      2.     The Clerk of the Court is directed to CLOSE Civ. No. 19-1874-MN.




                                                         The Honorable Maryellen Noreika
                                                         United States District Judge
